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Official Transtator to Judiciary, fslamic Republic of Tran
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pr zyle b00hed HII Srk ,, No. 641 Enghelab Ave, 2 nd, Fi, ISSATIS, ‘Tehran, Iran
Vso 3 ff ahyl = 3 Tel: (009821 } 8827256 - 88465604 Telefax: 840919

Official Translation From Persian Text
Emblem
Tslamic Republic of fran
Ministry of the Interior.
State Organization for Reg. of Census and Civil Status.

Serial No.: A/73 104865

Sealed Photo of the holder affixed.
IDENTITY CARDCBIRTH CERTIFICATE}

1.0. Card No. :581 Sex:Mate |

Name: SLAMAK
Surname: POURZAND

Date of Birth: 16 Sept.1937 |

Place of Birth:Tehran

PARENTS:

NAME I.D. Card No. Issue Place
Father:Sottan Abdotrasoulkhan 2398 Corgan
Mother: Betgneis 2400 Gorgan

Date of Issue 7:22 Sept, 1934

Place of Issue:Tehran-2

Signed & Sealed:

Responsible Office halder for Civil Status Registration of Tenran
SPOUSE :

First & Last Name: MEHRANGIZ

Id. Card No.354

Birth Bate: 10 Oct. 1953 issued at Ahwaz-1
Marriage Date :19 Nov.1969 Rag. No, 3835
Notary Public No.Tehran

CHILDREN:

Name

LILY A 40 “4 * t. , 975 Teiran-2

AZADEH fi: 4015,, es Jan’s olpss Tehran-7

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BANAFSHEH f $ Tehran-1
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2000/08/16
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